Case 1:21-cr-00034-CRC Document 58 Filed 01/19/22 Page 1of 4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA
v.

THOMAS ROBERTSON AND
JACOB FRACKER,
Defendants.

The Grand Jury charges that:

Crim No. 21-cr-34 (CRC)
VIOLATIONS:

18 U.S.C. §§ 1512(c), 2

(Obstruction and Aiding and Abetting)
18 U.S.C. § 231(a)(3), 2

(Civil Disorder and Aiding and Abetting)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building)

40 U.S.C. § 5104(e)(2)(D)

(Violent Entry and Disorderly Conduct in
a Capitol Building)

INDICTMENT

COUNT ONE

On or about the January 6, 2021, in the District of Columbia and elsewhere, the defendants,

THOMAS ROBERTSON and JACOB FRACKER, attempted to and did, corruptly obstruct,

influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,

Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the

Constitution of the United States and 3 U.S.C. §§ 15018, by entering and remaining in the United

States Capitol without authority and participating in disruptive behavior.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Section 1512(c)(2) and 2)
Case 1:21-cr-00034-CRC Document 58 Filed 01/19/22 Page 2 of 4

COUNT TWO

On or about January 6, 2021, within the District of Columbia, the defendant THOMAS
ROBERTSON, committed and attempted to commit an act to obstruct, impede, and interfere with
law enforcement officers lawfully engaged in the lawful performance of his/her official duties
incident to and during the commission of a civil disorder which in any way and degree obstructed,
delayed, and adversely affected commerce and the movement of any article and commodity in
commerce and the conduct and performance of any federally protected function and did aid and
abet others known and unknown to do the same.

(Civil Disorder and Aiding and Abetting, in violation of Title 18, United States Code,

Section 231(a)(3) and 2)

COUNT THREE

On or about January 6, 2021, in the District of Columbia, the defendants, THOMAS
ROBERTSON and JACOB FRACKER, did unlawfully and knowingly enter and remain in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, without lawful authority to do so. In doing so, ROBERTSON, during and in relation to
the offense, did carry a deadly and dangerous weapon, that is, a large wooden stick.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1) and (b)(1)(A))

 
Case 1:21-cr-00034-CRC Document 58 Filed 01/19/22 Page 3 of 4

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, the defendants THOMAS
ROBERTSON and JACOB FRACKER, did knowingly, and with intent to impede and disrupt
the orderly conduct of Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions. In
doing so, ROBERTSON, during and in relation to the offense, did carry a deadly and dangerous
weapon, that is, a large wooden stick.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))
COUNT FIVE
On or about January 6, 2021, in the District of Columbia, THOMAS ROBERTSON and
JACOB FRACKER, willfully and knowingly engaged in disorderly and disruptive conduct in
any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct in
that building of a hearing before and any deliberation of a committee of Congress and either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
Case 1:21-cr-00034-CRC Document 58 Filed 01/19/22 Page 4 of 4

A TRUE BILL:

FOREPERSON

ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA
